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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL DIVERSITY, et
al.

                        Plaintiffs,
                                                          Case No. 1:21-cv-0119 (RDM)
            v.
U.S. ENVIRONMENTAL PROTECTION
AGENCY, et al.

                        Defendants.


                                 NOTICE OF FILING CERTIFI ED INDEX
                                  TO THE ADMINISTRATIVE RECORD
        Pursuant to Local Civil Rule 7(n)(1) and the Court’s scheduling order of April 19, 2022,
Defendants U.S. Army Corps of Engineers; Lt. Gen. Scott Spellman, in in his official capacity as

Chief of Engineers and Commanding General of the U.S. Army Corps of Engineer; and Col. James
Booth, in his official capacity as District Commander of the U.S. Army Corps of Engineers,

Jacksonville District (collectively “the Corps”) hereby file the attached certified index to the
administrative record for the Corps action that is being challenged in this case.



                                                         Respectfully submitted,

Dated: June 29, 2022
                                                         /s/ Andrew S. Coghlan
                                                         ANDREW S. COGHLAN
                                                         U.S. Department of Justice
                                                         Environment & Natural Resources Division
                                                         Environmental Defense Section
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                                      Certificate of Service

       I certify that on June 29, 2022, I filed the foregoing with the Court’s CMS/ECF system,

which will notify each party.

                                                     /s/Andrew S. Coghlan
                                                    ANDREW S. COGHLAN
